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  7
  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
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 11
 12   CONSUELO ROSEMARIE                     )   Case No.: 5:20-cv-02253-JEM
      VASQUEZ,                               )
 13                                          )    xxxxxxxxxx ORDER OF
                                                 /PROPOSED/
                                             )   DISMISSAL
 14                Plaintiff,                )
                                             )
 15         vs.                              )
                                             )
 16   KILOLO KIJAKAZI,                       )
      Acting Commissioner of Social          )
 17                                          )
      Security,                              )
 18                                          )
                   Defendant.                )
 19
 20
 21         The above captioned matter is dismissed with prejudice, each party to bear

 22   its own fees, costs, and expenses.

 23         IT IS SO ORDERED.

 24   DATE: 9/29/2021
                                ___________________________________
 25                             THE HONORABLE JOHN E MCDERMOTT
                                UNITED STATES MAGISTRATE JUDGE
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